USCA4 Appeal: 21-1346    Doc: 136-2          Filed: 04/26/2022   Pg: 1 of 2




                                                                      FILED: April 26, 2022


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 21-1346
                                      (1:20-cv-00066-WGY)
                                      ___________________

        CARYN DEVINS STRICKLAND

                     Plaintiff - Appellant

        v.

        UNITED STATES OF AMERICA; JUDICIAL CONFERENCE OF THE
        UNITED STATES; BRIAN STACY MILLER, The Hon., in his official capacity
        as Chair of the Judicial Conference Committee on Judicial Resources;
        ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS;
        ROSLYNN R. MAUSKOPF, The Hon., in her official capacity as Director of the
        Administrative Office of the United States Courts; SHERYL L. WALTER, in her
        individual capacity; JOHN DOE(S), c/o Office of the General Counsel for the
        Administrative Office of the United States Courts; UNITED STATES COURT
        OF APPEALS FOR THE FOURTH CIRCUIT; JUDICIAL COUNCIL OF THE
        FOURTH CIRCUIT; ROGER L. GREGORY, The Hon., in his individual
        capacity and his official capacity a Chief Judge of the Fourth Circuit and as Chair
        of the Judicial Council of the Fourth Circuit; JAMES N. ISHIDA, in his
        individual capacity and his official capacity as Circuit Executive of the Fourth
        Circuit and as Secretary of the Judicial Council of the Fourth Circuit; JOHN G.
        BAKER, Federal Public Defender, in his official capacity as Federal Public
        Defender of the Federal Public Defender for the Western District of North
        Carolina; FEDERAL PUBLIC DEFENDER FOR THE WESTERN DISTRICT
        OF NORTH CAROLINA; ANTHONY MARTINEZ, in his individual capacity

                     Defendants - Appellees




              Case 1:20-cv-00066-WGY Document 114-3 Filed 04/26/22 Page 1 of 2
USCA4 Appeal: 21-1346       Doc: 136-2       Filed: 04/26/2022    Pg: 2 of 2



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        MEMBERS OF CONGRESS

                       Amicus Curiae

        LEGAL MOMENTUM; NATIONAL WOMEN'S LAW CENTER; THE
        PURPLE CAMPAIGN AND 42 ADDITIONAL ORGANIZATIONS; NAMED
        AND UNNAMED CURRENT AND FORMER EMPLOYEES OF THE
        FEDERAL JUDICIARY WHO WERE SUBJECT TO OR WITNESSED
        MISCONDUCT; AZIZ HUQ; ERWIN CHEMERINSKY

                       Amici Supporting Appellant

                                         ___________________

                                           JUDGMENT
                                         ___________________

               In accordance with the decision of this court, the judgment of the district

        court is affirmed in part and reversed in part. This case is remanded to the district

        court for further proceedings consistent with the court's decision.

               This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                                /s/ PATRICIA S. CONNOR, CLERK




               Case 1:20-cv-00066-WGY Document 114-3 Filed 04/26/22 Page 2 of 2
